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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 AMERICAN COLLEGE OF
 OBSTETRICIANS AND
 GYNECOLOGISTS, et al.,

                         Plaintiffs,
                                                         Case No. 8:20-cv-1320-TDC
                vs.

 UNITED STATES FOOD AND DRUG
 ADMINISTRATION, et al.,

                         Defendants.


                                        JOINT NOTICE

       On April 12, 2021, the U.S. Food and Drug Administration (“FDA”) issued a letter to

Plaintiff American College of Obstetricians and Gynecologists announcing that, “provided the

other requirements of the Mifepristone REMS Program are met,” FDA “intends to exercise

enforcement discretion during the COVID-19 [Public Health Emergency (“PHE”)] with respect

to the in-person dispensing requirement of the Mifepristone REMS Program, including any in-

person requirements that may be related to the Patient Agreement Form.” FDA also stated that,

“to the extent all of the other requirements of the Mifepristone REMS Program are met,” FDA

“intends to exercise enforcement discretion during the COVID-19 PHE with respect to the

dispensing of mifepristone through the mail either by or under the supervision of a certified

prescriber, or through a mail-order pharmacy when such dispensing is done under the

supervision of a certified prescriber.” A true and correct copy of FDA’s letter is attached as

Exhibit A.




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       The Parties are preparing to meet and confer regarding the impact of FDA’s letter on this

litigation. The Parties intend to update the Court as soon as possible, but no later than in the

Joint Status Report due by May 6, 2021. ECF No. 153.

Dated: April 26, 2021                                 Respectfully submitted,


                                                      BRIAN M. BOYNTON
                                                      Acting Assistant Attorney General
                                                      Civil Division

                                                      MICHAEL D. GRANSTON
                                                      Deputy Assistant Attorney General
                                                      Civil Division

                                                   GUSTAV W. EYLER
                                                   Director
                                                   Consumer Protection Branch

                                                      HILARY K. PERKINS
                                                      Assistant Director

                                                      /s/ Jonathan E. Amgott
                                                      JONATHAN E. AMGOTT
                                                      Trial Attorney
                                                      Consumer Protection Branch
                                                      Civil Division
                                                      U.S. Department of Justice
                                                      450 5th Street, N.W.
                                                      Washington, D.C. 20530
                                                      (202) 532-5025
                                                      Jonathan.E.Amgott@usdoj.gov

                                                      Attorneys for Defendants

                                                      /s/ Julia Kaye
                                                      Julia Kaye*
                                                      AMERICAN CIVIL LIBERTIES UNION
                                                      FOUNDATION
                                                      125 Broad Street, 18th Floor
                                                      New York, NY 10004
                                                      T: (212) 549-2633
                                                      F: (212) 549-2650



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                                   jkaye@aclu.org

                                   * Pro hac vice

                                   Attorney for Plaintiffs




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of April 2021, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to all counsel of record.


                                                 /s/ Jonathan E. Amgott
                                                 Jonathan E. Amgott
                                                 Trial Attorney
                                                 Consumer Protection Branch
                                                 Civil Division
                                                 U.S. Department of Justice
